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 6

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 8                           UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF                    ) Case No. 2:12-CR-0389 MCE
                                             )
12
     AMERICA,                                ) ORDER TO ALLOW DEFENDANT
                                             ) SHAY ALTIT TO TRAVEL TO
13
                    Plaintiff,               ) THAILAND FOR WORK
                                             )
14
           vs.                               )
                                             )
15
     SHAY DIN ALTIT,                         )
                                             )
16
                    Defendants.              )
                                             )
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         IN CONSIDERATION OF THE CONDITIONS STIPULATED AND
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     AGREED to by Defendant Shay Altit, by and through his counsel of record, the
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     Law Offices of Mark J. Werksman, and the United States of America, by and
21
     through Assistant United States Attorney Lee Bickley, defendant Altit shall be
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     allowed to travel to Thailand for business purposes on two separate occasions:
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     from April 20, 2013 through April 27, 2013; and from June 22, 2013 through July
24
     6, 2013.
25
           IT IS SO ORDERED
26   DATED: April 10, 2013
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                                       __________________________________________
28                                     MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                       UNITED STATES DISTRICT JUDGE

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